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MANDATORY FORM PLAN (Revised 05/2014)




                                  UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION at CINCINNATI


In re: Gerald S. Reid                                       :      Case No.       16-12691

                                                            :      Chapter 13
                                                            :      Judge        Beth A. Buchanan

Debtor(s)



                                        CHAPTER 13 PLAN
NOTE: The term “Debtor” as used throughout this Plan shall refer to either a single debtor or joint debtors. The term
“Plan” shall refer to the plan filed in this case, as it may be amended, using the Mandatory Form Plan adopted in the
Western Division at Cincinnati. All references to section (§) numbers are to sections of the United States Bankruptcy
Code, 11 U.S.C. § 101, et seq. The term “LBR” shall refer to the Local Bankruptcy Rules of the Southern District of
Ohio.

   CHOOSE ONE: (X)
     Original Chapter 13 Plan
     Amended Chapter 13 Plan

   CHOOSE ONE: (X)
     This Plan DOES NOT include any provision deviating from the uniform plan in effect at the time of filing this
     case.
     This Plan DOES contain special provisions and they are set forth in Paragraph 30

   Debtor filed this case on            July 22, 2016

   CHOOSE: (X)

      Debtor    Gerald S. Reid                          (Name)/    Joint Debtor

   (NAME) is/are eligible for discharge under 11 U.S.C. § 1328(f) and shall receive a discharge when all applicable
   requirements of 11 U.S.C. § 1328 have been fulfilled.

      Debtor                                            (Name)/    Joint Debtor

   (NAME) is/are NOT eligible for discharge under 11 U.S.C. § 1328(f) and SHALL NOT receive a discharge upon
   completion of this case. (No discharge because Debtor has received a discharge in a case filed under Chapter 7, 11,
   or 12 within the four (4) year period preceding the date of the order for relief in this Chapter 13 case or because
   Debtor has received a discharge in a case filed under Chapter 13 within the two (2) year period preceding the date of
   the order for relief in this Chapter 13 case. See 11 U.S.C. § 1328(f). List the case number(s) and date(s) below.)

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      Debtor/Joint Debtor/Both          Case Number              Chapter                    Date Filed




   Unless otherwise provided herein, Debtor will not be discharged from debts under 11 U.S.C. § 1322(b)(5).

 1. MEDIAN INCOME, PLAN PAYMENT AND PAYROLL DEDUCTION

 A. MEDIAN INCOME

CHOOSE ONE: (X)
    Debtor is BELOW median income.
 Unless allowed unsecured claims are to be paid 100%, this Plan shall not provide for less than the sum of thirty-six
 (36) monthly Plan payments. This provision does not prohibit Debtor from moving for leave to prepay the Plan
 prior to thirty-six (36) months of Plan payments.


    Debtor is ABOVE median income.
 Current monthly income (CMI) minus means test expenses (IRS amounts) = Disposable income (D/I)

 D/I (line 59 of the means test) $     1,930.86           TIMES 60 = $           115,851.60

 Unsecured creditors shall receive this amount at a minimum absent special circumstances set forth herein. Unless
 allowed unsecured claims are to be paid 100%, this Plan shall not provide for less than the sum of sixty (60) monthly
 Plan payments. This provision does not prohibit Debtor from moving for leave to prepay the Plan prior to sixty (60)
 months of Plan payments.

    Hamilton v. Lanning (In re Lanning),       130 S. Ct. 2464 (2010) circumstances ARE applicable to this case. Debtor
 is unable to meet the disposable income amount to unsecured creditors because
of higher mortgage payment and food expenses. Debtor's Plan pays unsecured creditors 100%.
 Debtor will provide tax returns and paystubs to Debtor's attorney by April 15th of every year. Debtor's attorney will
 file a status report on Debtor's income and state whether In re Lanning circumstances still exist by April 30th of every
 year, and file amended Schedules I, J, and a motion to modify plan if income increases. This is a sixty (60) month plan.

 B. PLAN PAYMENT

 Debtor's first Plan payment is due within thirty (30) days of the filing of the bankruptcy petition. Debtor shall pay to
 the Trustee all projected disposable income in the amount of $ 1,686.00

 each month for approximately 60                                               months, but not to exceed five (5) years.
After the deadline for allowed claims has expired, if the Plan will complete in fewer months than the applicable
commitment period set forth in 11 U.S.C. § 1325(b)(1)(B), the Trustee may notify Debtor's attorney via email, and at
least fourteen (14) days later shall be entitled to file a notice of increased Plan percentage accordingly.




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C. PERCENTAGE: UNSECURED CLAIM PERCENTAGE AND/OR POT AMOUNT

CHOOSE ONE: (X)

    This is a percentage plan. The percentage is        100.00   %.

    This is a pot plan.


Liquidation Analysis per 11 U.S.C. § 1325(a)(4):

Equity $                         DIVIDED BY unsecured debt $                             EQUALS Liquidation plan
percentage                  %.

The Trustee will pay this amount at a minimum or the disposable income (D/I) amount, whichever is greater.

Pot Plan Analysis:
Trustee will pay the creditors the pot plan amount of $

Anticipated pot plan percentage is                 %.      See LBR 3015-1(b)(2).

Case will pay $                        per month for approximately                          months which equals
$                  Unsecured creditors will receive a minimum of                   %. pursuant to the Liquidation
Analysis.

Trustee may notify Debtor's attorney if pot amount is insufficient to pay all claims as filed or meet the liquidation
analysis. Trustee may file a motion to dismiss for failure to file documents, if a motion to modify plan or agreed order is
not filed to resolve the insufficient pot amount.

D. PAYROLL DEDUCTION

The first payment is due (30) days after the date of the filing of the Plan or the order for relief, whichever is earlier,
unless the Court orders otherwise. See 11 U.S.C. § 1326(a)(1).

The employer shall make deductions from Debtor's wages and send deductions to the Trustee.

                                                   Name of employer

     University of Cincinnati
Until the payroll deduction order begins, Debtor MUST make payments by certified check or money order to:

Office of the Trustee
P.O. Box 290
Memphis, TN 38101-0290

Debtor's full name, case number and address must be on all certified checks or money orders. If Debtor is employed,
Debtor's attorney has uploaded a payroll deduction order with the filing of this case. Debtor MUST VERIFY with their
employer that funds have actually been sent.




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2. EFFECTIVE DATE OF PLAN AND VESTING OF PROPERTY OF THE ESTATE

The effective date of the Plan shall be the date of confirmation of the Plan.

Title to Debtor's property shall revest in Debtor upon confirmation of the Plan; provided, however, Debtor may not
sell any property, real or personal, except upon application to the Trustee or motion to the Court as specified in LBR
6004-1(c), unless the unencumbered value of the personal property is less than $1,000.
3. FILING OF PROOF OF CLAIM/ALLOWANCE AND PAYMENT OF CLAIMS

PRIORITY PAYMENTS

Payment shall not be made on any claim unless a proof of claim is filed with the Clerk of the Bankruptcy Court, or
the Court issues an order. See Fed. R. Bankr. P. 3002(c).

The Trustee is authorized within her discretion to calculate the amount and timing of distributions as is
administratively efficient.

All priority creditors under 11 U.S.C. § 507 shall be paid in full in deferred cash payments, unless the Court orders
otherwise. Priority claims include the following:

              Priority Creditor                 Monthly Payment            Interest Paid (None OR Indicate %)

    Internal Revenue Service                          $100.00                               none

4. ATTORNEY FEES

The Trustee shall pay attorney fees pursuant to filed application for fees and order of the Court.

Debtor's attorney will be paid a lump sum payment of all funds held by the Trustee at confirmation minus any adequate
protection payments, mortgage conduit payments, lease payments or Trustee fees and then
$ 200.00
(suggested amount is $100 to $200) every month until the attorney fee is paid.

After payment in full of attorney fees due to Debtor's attorney, any resulting additional funds shall be distributed pro rata,
or otherwise at the Trustee's discretion, to secured and priority creditors. If monthly secured and priority payments
exceed the Plan payment, monthly attorney fee payments shall be reduced accordingly.

5. ADEQUATE PROTECTION PLAN DISBURSEMENTS

Debtor shall pay adequate protection payments and/or lease payments specified in 11 U.S.C. § 1326(a)(1)(B) and (C) and
as scheduled in the Plan to the Trustee. If the case is dismissed or converted, the Trustee shall pay these adequate
protection payments to the creditor.

The Trustee shall make these adequate protection disbursements with the first payment after confirmation. The creditor
must file a proof of claim. Trustee suggests 1.5% of retail.

                   Creditor                     Monthly Payment                    Proposed Amount of
                                                                                  Allowed Secured Claim




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To the extent that this Paragraph duplicates Paragraphs 7 and 8, monthly payments proposed for secured claims in
Paragraphs 7 and 8 supplant these monthly adequate protection payments.

6. SECURED CLAIMS: 11 U.S.C. § 1325(a)(5)(B)(ii)

Secured creditors shall retain their security interest in the collateral until payment of the entire underlying debt
determined under applicable non-bankruptcy law or entry of discharge, whichever occurs first. See 11 U.S.C. § 1325(a)
(5)(B)(i)(I)(aa)-(bb). Following the earlier of these events, the creditor must release the underlying lien(s) and transfer
title to any collateral pursuant to non-bankruptcy law within thirty (30) days.

Holders of secured claims shall be paid provided that such priorities may be amended by the Court at or after the
confirmation hearing, and that holders of secured claims will be given priority as set forth herein over holders of
unsecured claims.
7. CLAIMS TO WHICH 11 U.S.C. § 506(a) IS NOT APPLICABLE (910/PMSI)

Debtor incurred the following debt for a purchase money security interest on an automobile for personal use within 910
days of filing or Debtor incurred this debt for a purchase money security interest on collateral other than an automobile
within one (1) year of filing.


            Creditor          Collateral Description        Last Four          Monthly         Proposed Amount
                                                          Digits of Acct.      Payment            of Allowed
                                                               No.                              Secured Claim
    Chase Auto              '12 Subaru                                          $399.00            $10,600.00

8. VALUATION: 11 U.S.C. § 506 (CRAMDOWN)

The amount of any secured creditor's allowed secured claim shall be that amount set forth in the Plan as the “Proposed
Amount of Allowed Secured Claim” unless the Court, prior to confirmation, orders otherwise.

Fees, costs or charges on the proof of claim must be reasonable as required by 11 U.S.C. § 506(b).

If sufficient funds are not available to make a full monthly payment on all claims listed below, the available funds will be
disbursed by the Trustee according to funds on hand, and approximate the amounts listed below as closely as possible.


            Creditor          Collateral Description        Last Four          Monthly         Proposed Amount
                                                          Digits of Acct.      Payment            of Allowed
                                                               No.                              Secured Claim



9. DOMESTIC SUPPORT OBLIGATION: 11 U.S.C. §§ 101(14A), 1325(a)(8), 1302(d)(1), 1302(b)(6)

CHOOSE: (X)

   This Paragraph is not applicable.

   Debtor                                                (NAME) is obligated to pay a domestic support obligation.

   Joint Debtor                                                (NAME) is obligated to pay a domestic support obligation.


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Provide the name, address and phone number of the recipient(s):


          Recipient Name                   Address              Phone Number                  Obligor



The domestic support obligation(s) above shall be paid as follows:

      Recipient Name             Paid By           Estimated           Monthly       Regular     Total Monthly
                                                   Arrearage          Arrearage      Monthly       Payment
                                                 Amount, If Any,      Payment        Payment
                                                   To Be Paid



The name, address and phone number of the holder of the domestic support obligation is also listed separately on
Schedule E and has been identified as such so that the Trustee may send a separate notice as required.

10. PLAN DISBURSEMENTS - DEFAULT PAYMENTS “INSIDE THE PLAN”

Debtor proposes to cure defaults to the following creditors by payment of the following monthly payments by the
Trustee:
          Creditor             Collateral        Last Four Digits     Monthly       Estimated Interest Paid
                               Description         of Acct. No.       Payment       Amount of   (None OR
                                                                                     Default   Indicate %)
                                                                                   Being Cured
   none

Arrearage Claim(s)

Mortgage arrearage claims involving mortgages that were entered into after October 22, 1994 shall not be paid interest.
 Unless modification of creditor(s)' rights is specified in the Plan, Debtor's statement of the arrearage(s) under this
Paragraph shall be considered an estimate, and the Trustee shall schedule the claims in the amount(s) set forth in the
creditor(s)' respective proofs of claim (subject to Debtor's objections thereto).




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11. MORTGAGE CLAIMS AND OTHER CLAIMS SECURED BY REAL PROPERTY

Post-Petition Mortgage/Monthly Payments Disbursed By Trustee (Conduit)

Regular Mortgage/Monthly Payments

Trustee shall pay the regular mortgage (monthly) payments beginning with the first payment due after the filing of the
case as indicated below. Any proof of claim must specify the arrearage amount and the principal amount and monthly
payment amount. See Form B 10, Proof of Claim; Form B 10A (Attachment A), Mortgage Proof of Claim Attachment.
Also, the holder of a mortgage shall file a Form B 10S1 (Supplement 1), Notice of Mortgage Payment Change and the
Plan will be deemed to have been modified and the Trustee will disburse the mortgage payments according to the Notice
of Mortgage Payment Change. See Fed. R. Bankr. P. 3001 & 3002.1; see also Form B 10S2 (Supplement 2), Notice of
Postpetition Mortgage Fees, Expenses, Charges.


           Creditor            Property Address         Last Four        Monthly         Payment Begin Date
                                                         Digits of       Payment
                                                        Acct. No.



Interest should not be paid on this monthly payment.

Trustee may increase the Plan payment for conduit cases if served with a filed Notice of Mortgage Payment Change by
mortgagee.

12. CREDITORS PAID DIRECTLY AND NOT BY THE TRUSTEE

Creditors who will be paid directly by Debtor and not through the Trustee are:

           Creditor          Collateral Description     Last Four        Monthly         Payment Begin Date
                                                         Digits of       Payment
                                                        Acct. No.
   HSBC                     real estate                                  $3,350.00      August 1, 2016
   Chase Auto               '12 Subaru                                    $399.00       August 1, 2016

Debtor reserves the right to amend and pay these creditors through the Plan by filing a motion to modify.
13. EXECUTORY CONTRACTS

See Schedule G - Executory Contracts and Unexpired Leases.

    Creditor, Collateral Monthly Payment Payment Begin Date                 Payment End Date         Assume/
    Description and Last                                                                              Reject
     Four of Acct No.
   Verizon                        $170.00         July 2015               July 2017                  Assume
   Freedom Debt Relief                            August 2015             June 2016                  Reject




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14. POST-PETITION CLAIMS AND/OR ADDITIONAL CREDITORS

Post-petition claims which are allowed and upon which creditors file a proof of claim shall be paid the same percentage
as pre-petition claims, which shall represent payment in full to the creditor, unless the Court orders otherwise. Debtor
may file a motion to remove or add any creditor to the Plan.

15. INTEREST RATE

Unless indicated below, secured claims shall be paid interest at the annual percentage rate of  5.00   %     based
upon a declining monthly balance on the amount of the allowed secured claim. This interest shall be paid as a part of
payments shown as the monthly payment. See Till v. SCS Credit Corp. (In re Till), 541 U.S. 465 (2004).

                                       Creditor                                              Interest Rate



16. PERSONAL INJURY CLAIMS, WORKERS COMPENSATION CLAIMS, SOCIAL SECURITY CLAIMS
AND MISCELLANEOUS CLAIMS OF DEBTOR

Debtor shall keep the Trustee informed as to any change in status of any claims for personal injury, workers
compensation, social security or any other claim to which Debtor may be entitled. Before the claim can be settled and
distributed, Debtor must comply with all requirements for filing applications and motions for settlement with the Court as
required by the Bankruptcy Code and Local Bankruptcy Rules. These funds shall be treated as additional Plan payments
or as the Court so otherwise orders. Debtor's case will not be complete until the claim has been settled and shall remain
open for administration purposes until the claims have been paid into the Plan or the Court orders otherwise.

17. TAX RETURNS AND REFUNDS

Debtor must file tax returns every year unless exempt by IRS statutes. Any refund above $800 for a single tax return and
$1600 for a joint tax return must be turned over to the Trustee unless otherwise ordered by the Court. Debtor may file a
motion to retain if the funds are necessary for maintenance and support.

18. TRANSFERRED CLAIMS

If any creditor has transferred its claim by assignment or otherwise, the underlying debt shall be discharged as to the
transferor and the transferee upon the completion of the Plan through discharge. See Fed. R. Bankr. P. 3001(e)(2).

19. SALE OF REAL ESTATE AND/OR APPLICATION TO INCUR DEBT FOR REFINANCING

Sale or refinancing of real estate must occur per the Local Bankruptcy Rules. The Trustee must be served with a copy of
the closing statement one (1) day before the closing.




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20. CASUALTY LOSS INSURANCE PROCEEDS

All insurance proceeds must be turned over to the Trustee unless Debtor files a motion to retain proceeds.

Substitution of Collateral

If a motor vehicle is substantially damaged while there is still an unpaid claim which is secured by the vehicle, Debtor,
upon motion and order, shall have the option of using the insurance proceeds to either repair the vehicle, pay off the
balance of the secured claims if the secured creditor is a named loss payee on the policy or substitute collateral by
purchasing a replacement vehicle.

Unless the Court orders otherwise, the Trustee will continue to pay the secured claim.

21. STUDENT LOANS

CHOOSE: (X)
  This Paragraph is not applicable.

   No special treatment is contemplated for student loans, which shall be paid the same as other general unsecured
   creditors pursuant to Paragraph 1(C) of this Plan.

   Student loans will be paid a dividend as listed below. Note: Debtor may only pay interest to an unsecured
   creditor if all claims are paid in full. See 11 U.S.C. § 1322(b)(10).

                                Creditor                               Percentage Paid          Rate of Interest
                                                                                                 (Indicate %)



   Student loans are being paid directly by cosigner and shall not be paid through the Plan.


                                Creditor                                      Name of Cosigner Paying




22. SURRENDER OF COLLATERAL

Debtor will surrender the following collateral

                Creditor                   Collateral Description/Property      Last Four          Estimated
                                                       Address                Digits of Acct.      Deficiency
                                                                                   No.              Amount



Unless identified above and in Paragraph 30 of this Plan, the Trustee will not schedule the affected creditor's secured
claim for payment until the claim is amended to set forth an unsecured deficiency after disposition of the collateral.

Upon confirmation of the Plan, any stay created by the filing of the petition pursuant to 11 U.S.C. § 362 shall be deemed
modified to allow in rem disposition of the collateral to effect the surrender.

Affected creditors are not barred by this provision from seeking pre-confirmation modification of the stay.

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23. DISCHARGE - 11 U.S.C. § 1328

Please refer to the beginning of this Plan.

24. AUTOMATIC STAY:

   Indicate if a motion to extend or impose stay has been filed.

CHOOSE: (X)

   Stay is in effect as to all property of the estate unless this Plan indicates otherwise.
   11 U.S.C. § 362(c)(3). One (1) prior case pending within one (1) year.
   11 U.S.C. § 362(c)(4). Two (2) or more prior cases pending within one (1) year.
   11 U.S.C. § 362(b)(20). In rem relief within two (2) years after the date of the entry of order for relief in the prior
   case.

25. CODEBTORS: 11 U.S.C. § 1322(b)(1)

CHOOSE: (X)
   This section is not applicable
   No special treatment is contemplated for claims for consumer debt of Debtor that another individual is liable on with
   Debtor.
   Under Paragraph 30, the Plan proposes to treat claims for consumer debt of Debtor that another individual is liable
   on with Debtor differently than other unsecured claims.
   Under this Paragraph, the Plan proposes to treat claims for consumer debt of Debtor that another individual is liable
   on with Debtor differently than other unsecured claims.

                Creditor                  Collateral Description           Last Four      Percentage Interest Paid
                                                                            Digits of        Paid      (None OR
                                                                           Acct. No.                  Indicate %)
    HSBC                              real estate                                             100.00%      none

26. DEFAULT AND WAIVER

Any default of Debtor that is not proposed to be cured in the Plan herein is deemed waived by the confirmation of the
Plan.

27. MODIFICATION

After opportunity for hearing and upon such notice as the Court may designate, if it appears that the circumstances of
Debtor so requires, the Court may, at the confirmation hearing or during the operation of the Plan, increase or decrease
the amount of payments to be paid by Debtor or to be paid as a priority payment to any creditor, or may extend or reduce
the time for such payments.

After confirmation, Debtor must file a motion to modify and attach amended Schedules I and J based on income and
budget at the time of the filing of the motion, as applicable.

28. NOTICES

Notice to all parties shall be made by regular mail or electronically.
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29. CONFIRMATION

The confirmation of the Plan shall constitute a finding by the Court that there is good cause to extend the Plan beyond the
applicable commitment period under 11 U.S.C. § 1325(b)(4), if the Plan calls for an extension beyond that period, and
that the Plan was filed by Debtor in good faith and it is Debtor's best effort. All conditions of 11 U.S.C. § 521 have been
fulfilled, unless otherwise ordered by the Court

30. ADDITIONAL PROVISIONS PERTAINING TO DEBTOR

Special provisions are restricted to those items applicable to the particular circumstances of the Debtor. Special
provisions shall not contain a restatement of provisions of the Bankruptcy Code, the Federal Rules of Bankruptcy
Procedure, the Local Bankruptcy Rules or the Mandatory Form Plan.


    Special Provisions:
      1.    The holders and/or servicers of any mortgage claim shall have an affirmative duty to do
            the following upon confirmation of the Plan (see In re Poff, Case No. 11-15869, decided
            03/16/2012, J. Buchanan):

            A. To apply all post-petition payments received by the Chapter 13 Trustee and designated
            as pre-petition arrearage claims only to such claim filed by holder/servicer;

            B. To apply all post-petition payments received by the Chapter 13 Trustee and designated
            as post-petition arrearage claims only to such claim as potentially filed by holder/servicer;

            C. To apply all post-petition payments received by the Chapter 13 Trustee and designated
            as post-petition regular monthly mortgage payments only to such claim filed by holder/
            servicer. (CONDUIT ONLY)

            D. To apply all post-petition payments received directly by Debtor(s) and designated as
            such post-petition regular monthly mortgage payments unless otherwise ordered by the
            Court (NON CONDUIT CASES)
      2.    If at any time during this plan a mortgage holder obtains relief from stay on the real estate
            located at (insert property address or description), the CH13 Trustee shall discontinue all
            payments to Movant and all other lienholders on their claims under the Ch 13 plan filed
            by Debtor(s). Movant is directed to file a report of sale promptly following liquidation of
            the subject property if any excess proceeds are received. Should Movant or any other
            lienholder seek to file any unsecured deficiency claim, it shall do so no later than
            90/270/365 days after the order on relief is entered. Said claims shall then be considered
            "provided for by the plan" per 11 USC 1328.

            If no deficiency claim is timely filed as specified above, then the balance is deemed
            discharged upon completion of the Chapter 13 plan and entry of Discharge Order.
      3.    Debtor's payroll deduction to repay the Rowe loan will be finished with the December
            2016 payment. Debtor may apply the increase after the Rowe Loan is satisfied if such
            increase is needed in order to keep the Plan to be a 100% Plan. Otherwise, Debtor
            proposes keeping the increase to pay cost of living increases.


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       4.   Several creditors received payments in the 90 days prior to filing via a court issued
            garnishment or by voluntary payments sent by Debtor that totaled in excess of $600 per
            creditor. Debtor's Plan proposes to pay the creditors 100% and Debtor does not intend,
            unless instructed by the Trustee, to seek return of the preferential payments. If the excess
            payments are sought from the creditors, Debtor proposes that any returned funds be
            turned over to the Trustee in order to be distributed pursuant to the Plan.

The undersigned hereby certify(ies) that the Plan does not contain any alterations to the text of the Mandatory Form Plan,
unless otherwise ordered by the Court.

Case Attorney
 /s/ Dennis S. Risch

Dated:              July 22, 2016


I declare under penalty of perjury that the information in this Plan is true and correct.


Debtor                                                           Joint Debtor
 /s/ Gerald S. Reid                                               /s/

Dated:              July 22, 2016                                 Dated:




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  This Plan was filed with the petition or within seven (7) days thereafter. Accordingly, the Court will serve the
  Plan. See LBR 3015-1(b).
  This Plan was not filed with the petition or within seven (7) days thereafter. Accordingly, the Debtor will serve the
  Plan. See LBR 3015-1(b).




                                                            Debtor's Attorney




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